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 Hon. James Donato
 United States District Judge
 U.S. District Court for the Northern District of California
 450 Golden Gate Avenue
 Courtroom 11, 19th Floor
 San Francisco, CA 94102

 Re:       Klein, et al. v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.)

Dear Judge Donato:

      I write on behalf of Advertiser Plaintiffs in response to the Court’s April 18, 2025 Order at
Dkt. No. 922.

       On April 4, the Court scheduled a concurrent expert evidence proceeding for June 5 at 10 am.
Dkt. No. 919. On April 17, Meta filed a letter stating that its class certification expert, Catherine
Tucker, would be in trial and requesting an alternate date for the concurrent expert proceeding. Dkt.
No. 921. The Court’s April 18 Order directed Advertiser Plaintiffs to “file a letter responding to Meta
Platform’s proposed dates for the concurrent expert evidence proceeding.” Dkt. No. 922.

        Advertiser Plaintiffs’ class certification expert, Michael Williams, is available for a concurrent
expert evidence proceeding the week of June 16, which Meta states in its letter works for Dr. Tucker.
See Dkt. No. 919 at 1. Meta does not specifically identify any other available dates in its letter, but does
generally reference the dates presently scheduled for trial. Advertiser Plaintiffs and Dr. Williams are
available effectively any date from June 16 onwards.

        Additionally, Dr. Williams is available both the week of May 26 and of June 9, should the week
of June 16 not work for the Court. Meta’s letter states that Dr. Tucker is expected to testify “in the
first week of June.” Id.

                                                                  Respectfully submitted,



                                                                  Yavar Bathaee
